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 6                                 UNITED STATES DISTRICT COURT
 7                                     DISTRICT OF NEVADA
 8                                              ***
 9    UNITED STATES OF AMERICA,       )
                                      )
10               Plaintiff,           )
                                      )
11     vs.                            )               2:02-cr-674-PMP
                                      )
12    GUO JUN XU,                     )
                                      )
13               Defendant.           )                      ORDER
      _______________________________ )
14
15          On May 22, 2013, the Court granted Marc Picker, Esq.’s motion to be relieved as
16    the attorney of record (#846) and ordered new counsel appointed (#848). Therefore;
17          IT IS HEREBY ORDERED that the Federal Public Defender is appointed as counsel
18    to represent Guo Jun Xu in place of Marc Picker, Esq. for all future proceedings.
19          IT IS FURTHER ORDERED that Mr. Picker shall forward the file to the Federal
20    Public Defender forthwith.
21
            DATED this      30th     day of May, 2013.
22
            Nunc Pro Tunc: May 29, 2013.
23
24
                                               ____________________________________
25                                             PHILIP M. PRO
                                               United States District Judge
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